
In re Lewis, Sugar Ray; —Plaintiff; Applying For Supervisory and/or Remedial *896Writs, Parish of Orleans, Criminal District Court Div. B, No. 406-677; to the Court of Appeal, Fourth Circuit, No. 2009-K-1610.
Denied. La.C.Cr.P. art. 930.8; State ex rel. Glover v. State, 93-2330 (La.9/5/95), 660 So.2d 1189; State v. Parker, 93-0256 (La.5/8/98), 711 So.2d 694; La.C.Cr.P. art. 930.3; State ex rel Melinie v. State, 93-1380 (La.1/12/96), 665 So.2d 1172; cf. La.C.Cr.P. art. 930.4(D).
